    Case: 1:14-cv-01458 Document #: 27 Filed: 07/21/14 Page 1 of 2 PageID #:106



                   IN THE UNITED STATES DISTRICT COURT
          FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

MACNEIL IP LLC, an Illinois Limited                )
Limited Liability Company,                         )
                                                   )
       Plaintiff,                                  )      Case No. 14-CV-1458
                                                   )
               v.                                  )
                                                   )      Hon. Joan Humphrey Lefkow
                                                   )
UNITED BROKERAGE COMPANY INC.,                     )      Hon. Mag. Young B. Kim
a Georgia Corporation; UNITED BROKERAGE            )
PACKAGING NATIONAL ACCOUNTS, LLC,                  )
a Georgia company; UNITED BROKERAGE                )
COMPANY OF NORTH CAROLINA, LLC, a                  )
Georgia company,                                   )
                                                   )
       Defendants.                                 )

                               STIPULATION TO DISMISS

               Plaintiff, MacNeil IP, LLC, and Defendants, United Brokerage Company, Inc.,

United Brokerage Packaging National Accounts, LLC, and United Brokerage Company of North

Carolina, LLC, by their undersigned attorneys, hereby stipulate to the entry of an order

dismissing the above-captioned matter with prejudice and without fees or costs, all matters in

controversy between the parties having been fully settled and compromised.

                                                   Respectfully submitted,

                                                   MACNEIL IP LLC,


Dated: July 21, 2014                       By:            /s/ Robert S. Grabemann
                                                   One of Its Attorneys




                                             -1-
    Case: 1:14-cv-01458 Document #: 27 Filed: 07/21/14 Page 2 of 2 PageID #:107



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Dated July 21, 2014                                 UNITED BROKERAGE
                                                    COMPANY, INC., UNITED
                                                    BROKERAGE PACKAGING
                                                    NATIONAL ACCOUNTS, LLC
                                                    AND   UNITED    BROKERAGE
                                                    COMPANY       OF     NORTH
                                                    CAROLINA, LLC


                                              By:   /s/ Ekaterena Berezutskaya
                                                    One of Their Attorneys


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                                        -2-
